

Moore v Sprint Corp. (2024 NY Slip Op 50051(U))



[*1]


Moore v Sprint Corp.


2024 NY Slip Op 50051(U)


Decided on January 23, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on January 23, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Tisch, JJ.



571126/23

Clifton R. Moore, Plaintiff-Appellant,
againstSprint Corp. and T-Mobile, Defendants-Respondents.




Plaintiff appeals from that portion of a judgment of the Small Claims Part of the Civil Court of the City of New York, Bronx County (Jeffrey S. Zellan, J.), entered on or about July 27, 2022, after trial, as limited his recovery to the principal sum of $99.82.




Per Curiam.
Judgment (Jeffrey S. Zellan, J.), entered on or about July 27, 2022, affirmed, without costs.
The amount of the damage award issued in plaintiff's favor upon the trial of this small claims action achieved "substantial justice" (CCA 1804, 1807) and was neither inadequate nor unreasonable. Given that plaintiff's mobile telephone account had already been credited approximately $661 for the unauthorized products and/or services for which he had been charged, the Court properly limited plaintiff's recovery herein to $99.82, representing "late fees, termination charges, and the like" arising from the billing dispute at issue. Plaintiff failed to establish that he was entitled to any additional damages, including punitive damages.
Plaintiff's remaining contentions have been considered and rejected. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concurDecision Date: January 23, 2024









